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            In the United States Court of Federal Claims

                                         No. 14-183L
                                    (Filed: June 21, 2018)


                                            )
 IDEKER FARMS, INC., et al.,                )
                                            )
                      Plaintiffs,           )
                                            )
 v.                                         )
                                            )
 THE UNITED STATES,                         )
                                            )
                      Defendant.            )
                                            )


                                         ORDER

        The court is in receipt of the plaintiffs’ motion (ECF No. 443), filed June 18,
2018, for leave to file a combined reply to defendant’s response to plaintiffs’ brief
regarding the impact of Saint Bernard Parish on plaintiffs’ motion for reconsideration
and sur-reply to defendant’s reply in support of its motion for reconsideration (“combined
reply – sur-reply”). In its response, the defendant represents that it does not oppose the
plaintiffs’ motion as long as defendant is allowed to respond to any new arguments raised
by plaintiffs’ combined reply – sur-reply. (ECF No. 444)

      The court GRANTS plaintiffs’ motion and the court ORDERS as follows:

      (1)     Plaintiffs shall have until July 6, 2018 to file a combined reply to
              defendant’s response to plaintiffs’ brief regarding the impact of Saint
              Bernard Parish on plaintiffs’ motion for reconsideration and sur-reply to
              defendant’s reply in support of its motion for reconsideration.

      (2)     Defendant shall have until July 13, 2018 to file a brief to respond to any
              new arguments raised by plaintiffs’ combined reply – sur-reply.

      (3)     The plaintiffs and defendant’s briefs shall not exceed 20 pages. In addition,
              the court will not consider any further requests for additional briefing.

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        The parties shall provide the court with a courtesy copy of their briefs in non-PDF
electronic format (Word) via e-mail to the following address:
“firestone_chambers@cfc.uscourts.gov”.

              IT IS SO ORDERED.
                                                          s/Nancy B. Firestone
                                                          NANCY B. FIRESTONE
                                                          Senior Judge




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